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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



SYMBOLOGY INNOVATIONS, LLC,
                                                         Case No. 2:19-cv-3125
                        Plaintiff,

        v.                                               JURY TRIAL DEMANDED

FOODFIRST GLOBAL RESTAURANTS, INC.

                        Defendant.



                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        1.      Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and through its

counsel, hereby brings this action for patent infringement against FoodFirst Global Restaurants,

Inc. (“FoodFirst” or “Defendant”) alleging infringement of the following validly issued patent (the

“Patent-in-Suit”): U.S. Patent No. 8,424,752, titled “System and method for presenting

information about an object on a portable electronic device” (the “’752 Patent”), attached hereto

as Exhibit A.

                                     NATURE OF THE ACTION

        2.      This is an action for patent infringement arising under the United States Patent

Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                              PARTIES

        3.      Plaintiff Symbology Innovations, LLC is a Texas company with its principal place

of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

        4.      On information and belief, FoodFirst Global Restaurants, Inc. is a company

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incorporated in Ohio with a principal place of business at 777 Goodale Blvd., Ste. 100, Columbus,

OH 43212, and may be served by its registered agent Corporation Service Company at 50 West

Broad Street, Ste. 1330, Columbus, OH 43215.

        5.     On information and belief, FirstFood Global Restaurants, Inc. is the owner and

operator of the Bravo and Brio restaurant chains. Pursuant to an acquisition effectuated on May

24, 2018, Bravo Brio Restaurant Group, Inc. was merged into FirstFood Global Restaurants, Inc.

On May 29, 2018, the Articles of Incorporation designated FoodFirst Global Restaurants, Inc. as

the owner of the Bravo and Brio restaurant chains.

                                 JURISDICTION AND VENUE

        6.     This lawsuit is a civil action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter jurisdiction pursuant to

28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

        7.     The Court has personal jurisdiction over Defendant for the following reasons: (1)

Defendant is present within or has minimum contacts within the State of Ohio and the Southern

District of Ohio; (2) Defendant has purposefully availed itself of the privileges of conducting

business in the State of Ohio and in this district; (3) Defendant has sought protection and benefit

from the laws of the State of Ohio; (4) Defendant regularly conducts business within the State of

Ohio and within this district, and Plaintiff’s cause of action arises directly from Defendant’s

business contacts and other activities in the State of Ohio and in this district; and (5) Defendant

is incorporated in Ohio and has purposely availed itself of the privileges and benefits of the laws

of the State of Ohio.

        8.     Defendant, directly and/or through intermediaries, ships, distributes, uses, offers

for sale, sells, and/or advertises products and services in the United States, the State of Ohio, and
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the Southern District of Ohio including but not limited to the products which contain the

infringing ’752 Patent systems and methods as detailed below. Upon information and belief,

Defendant has committed patent infringement in the State of Ohio and in this district; Defendant

solicits and has solicited customers in the State of Ohio and in this district; and Defendant has

paying customers who are residents of the State of Ohio and this district and who each use and

have used the Defendant’s products and services in the State of Ohio and in this district.

        9.     Venue is proper in the Southern District of Ohio pursuant to 28 U.S.C. §§ 1400(b).

Defendant is incorporated in this district, has transacted business in this district, and has directly

and/or indirectly committed acts of patent infringement in this district.

                                        PATENT-IN-SUIT

        10.    The Patent-in-Suit teaches systems and methods for enabling a portable electronic

device (e.g., smartphone) to retrieve information about an object when the object’s symbology (e.g.

QR code) is detected.

                                          COUNT I
                          (Infringement of U.S. Patent No. 8,424,752)

        11.    Plaintiff incorporates by reference the allegations of paragraphs 1-10, the same as if

set forth herein.

        12.    The ’752 Patent is valid, enforceable, and was duly and legally issued by the United

States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752 Patent is presumed

valid and enforceable. See 35 U.S.C. § 282.

        13.    Plaintiff is the owner by assignment of the ’752 patent and possesses all rights of

recovery under the ’752 patent, including the exclusive right enforce the ’752 patent and pursue

lawsuits against infringers.

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        14.     On information and belief, Defendant has infringed and continues to infringe on

one or more claims of the ’752 Patent—directly, contributorily, and/or by inducement—by

importing, making, using, offering for sale, or selling products and devices that embody the

patented invention, including, without limitation, one or more of the patented ’752 systems and

methods, in violation of 35 U.S.C. § 271.

        Direct Infringement

        15.     Defendant has been and now is directly infringing by, among other things,

practicing all of the steps of the ’752 Patent through internal testing, quality assurance, research

and development, and troubleshooting. See Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed.Cir. 1993);

see also 35 U.S.C. § 271 (2006). For instance, Defendant has directly infringed the Patent-in-Suit

by testing, configuring, and troubleshooting the functionality of QR codes on its products and

services.

        16.     By way of example, Defendant has infringed and continues to infringe on at least

one or more claims, including at least Claim 1 of the ’752 Patent which teaches

                A method comprising:
                  capturing a digital image using a digital image capturing
                    device that is part of a portable electronic device;
                  detecting symbology associated with an object within the
                    digital image using a portable electronic device;
                  decoding the symbology to obtain a decode string using
                    one or more visual detection applications residing on the
                    portable electronic device;
                  sending the decode string to a remote server for processing:
                  receiving information about the object from the remote
                    server wherein the information is based on the decode
                    string of the object.
                  displaying the information on a display device associated
                    with the portable electronic device.

        17.     On information and belief, at least through testing, quality assurance,

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troubleshooting, and research and development, Defendant employs a method wherein a digital

image (i.e., “QR code”) associated with its brand products is captured by the camera of a portable

electronic device (i.e., a smartphone or tablet) (“capturing a digital image using a digital image capturing

device that is part of a portable electronic device”). See Figures 1, 2, and 3.




                       Figure 1                       Figure 2                    Figure 3

         18.      On information and belief, Defendant uses a smartphone, tablet, or similar device

to detect symbology (i.e., the QR code) associated with an object, such as the Defendant’s

infringing product (“detecting symbology associated with an object within the digital image using a portable

electronic device”).




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                                                         Figure 4
         19.      On information and belief, Defendant uses a smartphone, tablet, or similar device

to decode the symbology to obtain a decode string (i.e., hyperlink) using the visual detection

application residing in the smartphone or tablet (“decoding the symbology to obtain a decode string using

one or more visual detection applications residing on the portable electronic device”). For example, a

smartphone detects the symbology of the QR code on Defendant’s product and decodes the digital

image captured on the smartphone camera to produce a decoded hyperlink as shown in the figures

below. The decoded string is sent to a remote server for processing as shown in Figure 5 (“sending

the decode string to a remote server for processing”).




                                Figure 5
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         20.      On information and belief, after clicking the hyperlink obtained by scanning the

QR code associated with the product, the smartphone receives information about the product

from a remote server. (“receiving information about the object from the remote server wherein the information

is based on the decode string of the object”). The information is received and displayed on the smartphone

as shown in Figure 6 below (“displaying the information on a display device associated with the portable

electronic device”).




                                                  Figure 6

         Induced Infringement

         21.      Defendant has been and now is indirectly infringing by way of inducing

infringement by others and/or contributing to the infringement by others of the ’752 Patent in the

State of Ohio, in this judicial District, and elsewhere in the United States, by, among other things,

making, using, offering for sale, and/or selling, without license or authority, products affixed with

QR codes that require the accused technology for intended functionality, testing, configuration,

troubleshooting, and other utilization. End users include, for example, customers, customers’

customers, retail store personnel, and other third-parties.

         22.      Defendant took active steps to induce infringement, such as advertising an
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infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer Studios Inc. v.

Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from distribution of an article in

commerce that the distributor intended the article to be used to infringe another's patent, and so

may justly be held liable for that infringement.”).

        23.     The allegations herein support a finding that Defendant induced infringement of

the ’752 Patent. See Power Integrations v. Fairchild Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)

(“[W]e have affirmed induced infringement verdicts based on circumstantial evidence of

inducement [e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party direct

infringer was actually persuaded to infringe by that material.”).

        Contributory Infringement

        24.     On information and belief, Defendant contributorily infringes on Symbology’s ’752

Patent. Defendant knew or should have known, at the very least as a result of its freedom to

operate analyses, that third parties, such as its customers, would infringe the ’752 Patent by

implementing Defendant’s QR code technology.

        25.     On information and belief, Defendant’s implementation of the accused

functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580

F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-infringing use” element of a

contributory infringement claim applies to an infringing feature or component, and that an

“infringing feature” of a product does not escape liability simply because the product as a whole

has other non-infringing uses).

        Willful Infringement

        26.On information and belief, the infringement of the ’752 Patent by Defendant has
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been and continues to be willful. Defendant has had actual knowledge of Symbology’s rights in

the ’752 Patent and details of Defendant’s infringement based on at least the filing and service of

this complaint. Additionally, Defendant had knowledge of the ’752 Patent and its infringement in

the course of Defendant’s due diligence and freedom to operate analyses.

        Plaintiff Suffered Damages

        27.    Defendant’s acts of infringement of the ’752 Patent have caused damage to

Symbology, and Symbology is entitled to recover from Defendant the damages sustained as a

result of Defendant’s wrongful acts in an amount subject to proof at trial pursuant to 35 U.S.C.

§ 271. Defendant’s infringement of Symbology’s exclusive rights under the ’752 Patent will

continue to damage Symbology causing it irreparable harm for which there is no adequate remedy

at law, warranting an injunction from the Court.

                                    REQUEST FOR RELIEF

        28.    Symbology incorporates each of the allegations in the paragraphs above and

respectfully asks the Court to:

       (a)     enter a judgment that Defendant has directly infringed, contributorily infringed,

       and induced infringement of one or more claims of each of the ’752 Patent;

       (b)     enter a judgment awarding Symbology all damages adequate to compensate it for

       Defendant’s infringement of, direct or contributory, or inducement to infringe, the

       including all prejudgment and post-judgment interest at the maximum rate permitted by

       law;

       (c)     enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for

       Defendant’s willful infringement of the ’752 Patent

       (d)     issue a preliminary injunction and thereafter a permanent injunction enjoining and

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       restraining Defendant, its directors, officers, agents, servants, employees, and those acting

       in privity or in concert with them, and their subsidiaries, divisions, successors, and

       assigns, from further acts of infringement, contributory infringement, or inducement of

       infringement of the ’752 Patent;

       (e)    enter a judgment requiring Defendant to pay the costs of this action, including all

       disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285, together with

       prejudgment interest; and

       (f)    award Symbology all other relief that the Court may deem just and proper.



Dated: July 18, 2019                         Respectfully submitted,


                                             SAND, SEBOLT & WERNOW CO., LPA

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